 Case 2:12-cv-00684-JAK-RZ Document 51 Filed 09/24/12 Page 1 of 3 Page ID #:443




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     Attorneys for Plaintiff DENNIS MORRIS
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 8
                              UNITED STATES DISTRICT COURT
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                             CENTRAL DISTRICT OF CALIFORNIA
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     DENNIS MORRIS                               Case No. CV12-0684 JAK (RZx)
12                                               Complaint Filed: January 26, 2012
13              Plaintiff,                       Honorable John A. Kronstadt
14
                v.                               DECLARATION OF DOUGLAS A.
15                                               LINDE IN SUPPORT OF
     THIERRY GUETTA; ITS A                       PLAINTIFF’S MOTION FOR
16
     WONDERFUL WORLD, INC., and                  SUMMARY ADJUDICATION
17   DOES 1 though 10, inclusive,
18
                Defendants.
19                                               Time: 8:30 a.m.
20                                               Date: October 22, 2012
                                                 Place: Courtroom 750
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22   TO THE HONORABLE COURT, DEFENDANT AND ITS ATTORNEYS OF
23   RECORD HEREIN:
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                             DECLARATION OF DOUGLAS LINDE – Page 1
 Case 2:12-cv-00684-JAK-RZ Document 51 Filed 09/24/12 Page 2 of 3 Page ID #:444




 1                        DECLARATION OF DOUGLAS A. LINDE
 2   I, DOUGLAS A. LINDE, declare:
 3         1.     I am an attorney licensed to practice before all the courts of the State of
 4   California and the Central District Court of California. I am a member of the Linde
 5   Law Firm and currently represent Plaintiff in this case.
 6         2.     Attached hereto as Exhibit 1, is a true and correct copy of the relevant
 7   portions of Defendants’ Answer to Plaintiff’s Complaint.
 8         3.     Attached hereto as Exhibit 2, is a true and correct copy of the relevant
 9   portions of Defendant Thierry Guetta’s responses to Plaintiff’s Request for
10   Admissions, First Set. Exhibits “C,” “D” and “E” refer to the Exhibits referenced
11   therein. Exhibit “A” refers to the Subject Photograph.
12         4.     Attached hereto as Exhibit 3, is a true and correct copy of the relevant
13   portions of Defendant Its a Wonderful World’s responses to Plaintiff’s Request for
14   Admissions, First Set. Exhibits “C,” “D” and “E” refer to the Exhibits referenced
15   therein. Exhibit “A” refers to the Subject Photograph.
16         5.     True and correct copies of Defendants Interrogatory, Set One responses,
17   are attached hereto as Exhibit 4.
18         6.     Investigation has demonstrated that Defendants Thierry Guetta and It’s a
19   Wonderful World created and displayed the following artwork, which we have given
20   the name the “Broken Records Work”:
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                           DECLARATION OF DOUGLAS LINDE – Page 2
 Case 2:12-cv-00684-JAK-RZ Document 51 Filed 09/24/12 Page 3 of 3 Page ID #:445




 1         Attached hereto as Exhibit 5 is a true and correct copy of an article by Camille
 2   Dodero of the Village Voice, published on February 16, 2010, identifying the Broken
 3   Records Work as being displayed in Defendants’ New York show.
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 5   7.    Investigation has demonstrated that Defendants Thierry Guetta and It’s a
 6   Wonderful World created and displayed the following artwork, which we have given
 7   the name the “Mural”:
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16   I declare under the penalty of perjury that all of the above is true and correct of my
17   own personal knowledge.       If called as a witness, I could and would testify
18   competently to all of it.
19         Signed on September 24, 2012 in Los Angeles County, California.
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21                                               /s/ Douglas A. Linde
22                                               Douglas A. Linde
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                            DECLARATION OF DOUGLAS LINDE – Page 3
